                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

     DAVID FLEURY and CHRISTOPHER
     NUNNERY, individually and on behalf of
     similarly situated individuals,
                                                                     20-cv-00390
                     Plaintiffs,
                                                                     Hon. Jorge L. Alonso
     v.
                                                                     Magistrate Judge Jeffrey Cole
     UNION PACIFIC RAILROAD COMPANY,
     a Delaware corporation,

                     Defendant.


     PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DATA IN DISCOVERY

          Plaintiffs David Fleury and Christopher Nunnery (“Plaintiffs”), pursuant to Rules 26, 34,

and 37 of the Federal Rules of Civil Procedure, hereby move to compel the production of six

databases that Defendant has refused to produce in discovery. In support of this Motion, Plaintiffs

state as follows:

                                             INTRODUCTION

          This case is a putative class action for violations of the Biometric Information Privacy Act,

740 ILCS 14/ et seq. (“BIPA”), brought against a national railroad, Union Pacific Railroad

Company (“Union Pacific” or “Defendant”), for its illegal collection and retention of truck drivers’

biometric identifiers and/or biometric information. 1 Specifically, at Defendant’s railyards in

Illinois, Defendant requires truck drivers to register themselves with Defendant’s Automatic Gate

System (“AGS” or “Auto-Gate System”) so that Defendant can identify them via their fingerprints

upon subsequent visits. In doing so, Defendant collects, captures, or otherwise obtains the putative


1
    Biometric identifiers and biometric information are collectively referred to herein as “biometrics.”
class members’ personal identifying information (“PII”) in the form of their full names, scans of

their drivers’ licenses, and their biometrics, along with many other categories of information

related to their visits to Union Pacific’s Illinois facilities. Defendant stores this information in the

six databases.

        Plaintiffs requested production of this information (which is relevant to both liability and

class certification) more than two years ago, on April 5, 2021. Specifically, the information is

directly responsive to Plaintiffs’ Requests for Production Nos. 4, 5 and 8: 2




        Through its interrogatory responses, Defendant has confirmed that it is in possession of

this information, and that it is stored in six databases (herein the “Databases”) owned and

controlled by Union Pacific. Specifically, each of Union Pacific’s four facilities in Illinois has its

own local driver registration database that is stored on-site at the facility. Union Pacific also

maintains a “central” driver database related to putative Class Members’ use of Union Pacific’s

Illinois Auto-Gate Systems. These five databases are in turn linked to Union Pacific’s “UP Driver

Master File,” which contains additional PII and data points related to whether UP has obtained



2
  See Plaintiff Fleury’s First Requests for Production and Defendant’s Responses thereto, all of which are
attached as Exhibit A, at Request Nos. 4, 5, and 8. Please note that Plaintiff’s definition of “Documents”
specifically includes “data or data compilations, including ESI—stored in any medium from which
information can be obtained.” Id. ¶ 15. These Requests were propounded prior to any discovery occurring
in this case, and, as explained in Plaintiffs’ Rule 37 certification below, have been narrowed through the
meet-and-confer process and further written discovery to the point that the Parties understand that Plaintiffs
seek production of the Databases under these Requests.
                                                      2
truck drivers’ purported consent to collect their biometrics and whether UP has purged (deleted)

the biometrics of inactive truck drivers. 3

        Simply stated, Plaintiffs have requested the information and Defendant has it, but refuses

to produce it. As the Court will recall, Plaintiff Fleury moved to compel the production of this data

in his Motion to Compel filed on October 21, 2022, which the Court denied without prejudice on

the grounds that the Parties had not sufficiently met and conferred in an effort to resolve the

impasse. Since the Court’s October 21, 2022 Order, the Parties have met and conferred extensively

in an effort to resolve this dispute. 4 But after months of negotiations, there are still disputes that

require the court’s involvement.

        First, Defendant is withholding relevant and discoverable information and attempting to

artificially narrow the size and scope of Plaintiffs’ Class to drivers who presented an Illinois CDL.

See Exs. B and D. Plaintiffs have on several occasions attempted to resolve the issue by waiving

the production of certain categories of information if Defendant would enter into stipulations with

respect to certain merits and class certification issues related thereto. See Ex. C. Defendant has

uniformly rejected such offers. See Ex. D. And most recently, Defendant has actually narrowed

the scope of data it had formerly claimed it would be willing to produce, while offering no

stipulations at all. Compare Ex. B ¶ 1 with Ex. D at 2 (narrowing the size and scope of the class

from its previous offer to only include individuals with Illinois CDLs and refusing to engage with

Plaintiffs’ offered stipulations.) 5 To date, Defendant has not even produced the artificially


3
  Ex. F, Def.’s Responses to Plaintiffs’ Second Set of Interrogatories at Response Nos. 12-13.
4
  See the Parties’ most recent correspondence regarding the data sought herein, attached hereto as Exhibits
B (Defendant’s Feb. 9, 2023 letter to Plaintiffs); C (Plaintiffs’ March 10 letter to Defendant); D
(Defendant’s May 5, 2023 letter to Plaintiffs); and E (Plaintiffs’ subsequent emails to Defendant).
5
  It is Plaintiffs’ burden to certify a class in this case and thus Plaintiffs’ prerogative to define the scope of
the class. Defendant’s attempts to narrow the class by choking off what data is produced is entirely
improper. And Defendant’s recent reduction of the scope of the data it is offering to produce (on the heels


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narrowed data set as promised in its May 5 Correspondence to produce by May 19. See Ex. D.

Defendant has not provided a reason for its failure to produce this data, nor has it responded to

Plaintiffs’ numerous requests for a meet-and-confer. Accordingly, and especially now that

Defendant is moving backwards in its negotiations, Court intervention to compel production of

the Databases is appropriate. 6

        The information sought is highly relevant to both the merits of Plaintiffs’ claims and to

class certification, and there is no reasonable basis for Defendant to withhold such information,

especially given the comprehensive Confidentiality Order entered by the Court over Defendant’s

objection. See Dkts. 125-126. Thus, Plaintiffs ask that the Court order the immediate and complete

production of the six Databases by Defendant.

                                         LEGAL STANDARD

        Rule 26 broadly permits parties to obtain discovery regarding “any nonprivileged matter

that is relevant to any party's claim or defense[.]” Fed. R. Civ. P. 26(b)(1). Generally, the Federal

Rules “permit liberal discovery in an effort to facilitate the trial or settlement of legal disputes.”

Whiteamire Clinic, P.A., Inc. v. Quill Corp., 2013 WL 5348377, at *3 (N.D. Ill. Sept. 24, 2013)

(citing Bond v. Utreras, 585 F.3d 1061, 1075 (7th Cir. 2009)). This is equally true in the class

action context. See Jones v. Nat’l Council of Young Men's Christian Assocs. of U.S., No. 09-cv-

6437, 2011 WL 1312162, at *2 (N.D. Ill. March 31, 2011). In class actions, at a minimum,

“precertification discovery is appropriate concerning Rule 23’s threshold requirements of

numerosity, common questions/commonality, and adequacy of representation.” Gebka v. Allstate



of the Court reluctantly granting the Parties more time to complete discovery (Dkt. 144)) is entirely
unproductive and smacks of bad faith and delay-focused gamesmanship rather than good-faith negotiation.
6
  Rather than ask the Court to force Defendant to agree to Plaintiffs’ requested stipulations (See Ex. C),
Plaintiffs simply ask that the Court cleanly order production of the Databases pursuant to its wide discretion
to control discovery.
                                                      4
Corp., 2021 WL 825612, at *8 (N.D. Ill. March 4, 2021). Moreover, “the scope of discovery must

be sufficiently broad to give the plaintiff a realistic opportunity to meet the requirements of class

certification. Id. Magistrate judges “enjoy extremely broad discretion in controlling discovery.”

Jones v. City of Elkhart, Ind., 737 F.3d 1107, 1115 (7th Cir. 2013).

       If a motion to compel under Rule 37(a) “is granted—or if the disclosure or requested

discovery is provided after the motion was filed—the court must, after giving an opportunity to be

heard, require the party or deponent whose conduct necessitated the motion, the party or attorney

advising that conduct, or both to pay the movant's reasonable expenses incurred in making the

motion, including attorney’s fees.” Fed. R. Civ. P. 37(a)(5)(A).

                                          ARGUMENT

       The information sought through this Motion are (i) Union Pacific’s driver registration

databases, which are Microsoft SQL databases containing the biometrics and associated PII of

Plaintiffs and the putative Class, and (ii) Union Pacific’s “UP Driver Master File” database, which

is linked to the driver registration databases and contains data related to whether and when an

individual’s purported consent was gained to collect their biometrics, and whether their biometrics

were deleted by Defendant’s system. These Databases are formally known as: the Central Driver

Database, Global 1 Driver Database, Global 2 Driver Database, Global 3 Driver Database, Global

4 Driver Database and the UP Driver Master File. See Response to Plaintiff’s Second

Interrogatories at Resp. No 13, attached hereto as Exhibit F; Exhibit G data map showing linkage

between the AGS site databases and the Central Driver Database to the UP Driver Master File.

       The specific process by which drivers are registered into UP’s AGS system and have their

information stored in the Databases is described in detail in an AGS Clerk Console Reference

Manual produced by Union Pacific in discovery. See Exhibit H, at UP00000263-UP00000265.



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The Databases contain numerous categories of information relevant to the merits of Plaintiffs’

claims, including all of the biometrics that are at the heart of this case, the date and times of Class

Members’ biometric registrations, information identifying the particular appendages from which

the Class Members’ fingerprints were captured, information indicating when and whether any

purported consent was obtained to collect such biometrics, and information indicating when and

whether biometrics were purged (deleted) by Defendant’s Auto-Gate System. The Databases also

contain other PII, including scans of putative Class members’ drivers’ licenses, address

information, information identifying their employers, and other information related to their visits

to Defendant’s Illinois facilities. 7 All of this information is relevant and intertwined with numerous

merits and class certification issues.

        Put simply, this case is about the illegal collection of Plaintiffs’ and the Class Members’

biometrics, and the Databases sought here store clearly relevant information gathered through

Defendant’s biometric AGS registration process. This cannot reasonably be in dispute.

Accordingly, Plaintiffs are entitled to review the complete contents of these Databases and to

inspect every category of information contained therein. While Defendant may claim that the

Databases also contain information that is itself not relevant, there can be no dispute that all of the

information contained in the Databases was captured and created to serve the specific purpose of

identifying drivers using biometrics, and all such information is thus tied to the Class Members’

biometrics. Moreover, “discovery is not improper simply because a party's request is likely to

unearth some documents that eventually prove to be irrelevant to that party's claim[.]” Awalt v.

Marketti, 11-cv-6142, 2012 WL 6568242, at *5 (N.D. Ill. Dec. 17, 2012). And as the Court noted

previously, it is not clear “what the district court judge will deem significant or perhaps even


7
 For a complete list of the data points captured by Defendant in registering drivers through the AGS, please
see Defendant’s Responses to Plaintiff’s Interrogatory 13, attached hereto as Exhibit F.
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relevant when the time comes for summary judgment or trial” such that it is appropriate to “err on

the side of more rather than less.” Dkt. 114 at 4. Put differently, because the entire purpose of the

Databases was to store drivers’ registration information, including all biometric registrations, and

because such illegal registrations serve as the basis of Plaintiffs’ claims, all the information

contained in the Databases is relevant and should be produced, and the potential that some

information may later be deemed irrelevant should not preclude the production of relevant

information.

       Of course, such Databases are also directly relevant to the Fed. R. Civ. P. 23 elements of

commonality, typicality and ascertainability—elements that Defendant has refused to stipulate to

in this litigation. If Defendant is going to challenge these elements, then it must provide the

database evidence in its possession. First, the Databases are important for Plaintiffs to show that

the information gathered from each putative Class member is similar, if not identical, in nature,

thereby permitting them to prove that this case is suitable for class treatment. Access to such

Databases is also crucial for showing that the identities of the putative Class members are

specifically ascertainable. Here, class certification is expected to be straightforward. Indeed, at the

same time that Defendant’s AGS System violated the law, it carefully catalogued the identifying

information for the individuals whose rights were violated. All putative Class members were

subjected to the same procedure, all had their biometrics captured using the same system at

Defendant’s Illinois location(s), and all were uniformly deprived of their right to receive certain

disclosures and provide informed written consent. See Ex. H at UP00000263-UP00000265. The

Databases are thus highly relevant to the issues of class certification and should be produced

immediately.




                                                  7
        There is also a very low burden associated with copying and producing the Databases.

Databases can be copied onto hard drives and produced with little to no administrative effort by

Defendant. In fact, it is less burdensome to simply produce the entire Databases than it would be

to parse through them and produce limited categories of Defendant’s choosing. Moreover, on

January 4, 2023, the Court entered a comprehensive Confidentiality Order 8 that provides for

production and protection of Confidential Information, the definition of which covers all of the

information stored by the Databases—and specifically provides for the production of biometrics.

Dkt. 126 ¶ 2, 17. Defendant’s refusal thus far to produce such Databases has been an exercise in

frustrating class and merits discovery, not an attempt to reduce its discovery burden or protect

confidentiality.

        By this Motion, Plaintiffs are not requesting a groundbreaking production. By way of

example, in a nearly identical case, Rogers v. BNSF Railway Co., the railroad defendant BNSF

owned and operated Auto-Gate Systems materially similar to those at issue in this case. 19-cv-

03083 Dkt. 142 at 2-3 (N.D. Ill. Mar. 15, 2022). Such systems were procured by BNSF through a

third party, Remprex LLC. Id. The same is true here. See Ex. H, at UP00000263-UP00000265.

Also, in BNSF, the hardware and software comprising the Auto-Gate Systems, including the

database design, was engineered at least in part by another third-party technology provider,

Nascent Technologies. The same is true here. During discovery in that case, the plaintiff received

the complete native driver databases, which were copied onto hard drives and produced as

Plaintiffs have requested here. Such information was retained by plaintiff’s counsel and his expert

throughout such litigation and kept in accordance with the confidentiality order in that case, which



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 Defendant’s foot-dragging behavior with respect to the patently relevant data Plaintiffs seek echoes its refusal to
enter into a simple Confidentiality Order in this case—efforts which the Court remarked were “not well-taken.” Dkt.
125 at 2.

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is nearly identical to the one entered here. See Dkt. 125 (referencing the confidentiality order in

BNSF). Plaintiffs are essentially seeking the same information that was produced in the BNSF case

pending before Judge Kennelly.

       In the BNSF case, the plaintiff relied on an expert, Joseph Caruso of Global Digital

Forensics, to analyze BNSF’s databases. Mr. Caruso was able to utilize the tables contained in

BNSF’s databases to determine with specificity the total number of class members and,

importantly, to identify them. His testimony also addressed merits issues such as the fact that the

information contained in such databases included biometric identifiers and biometric information.

Relatedly, at trial in the BNSF case, BNSF claimed to have been surprised that actual images of

fingerprints had been stored in its AGS databases. It was only through having access to the actual

unfiltered data that plaintiff Rogers was able to discover the true scope of BNSF’s biometric

collection and storage. Through analysis of the raw data, Mr. Caruso was also able to develop an

opinion as to whether the data was stored in accordance with relevant technical safety standards,

which was relevant to determining the defendant’s state of mind—another claims issue which can

be shown to be common to the whole class.

       Plaintiffs have retained Joseph Caruso as an expert here as well, and he has already

reviewed descriptions of the Databases. Mr. Caruso has a deep understanding of how databases

store information, and Plaintiffs expect that his testimony will be relevant on the merits and with

respect to Plaintiffs’ forthcoming Motion for Class Certification—as it was in the BNSF case. A

Declaration of Joseph Caruso is attached hereto as Exhibit I. Mr. Caruso is prepared and able to

analyze the Databases to identify the members of the Class and to assess the data contained within

such Databases in determining whether such information constitutes biometric identifiers or

information under BIPA. It is also apparent that the various tables contained in these Databases



                                                9
are interrelated and linked, meaning that absent production of such Databases in their native and

unfiltered format, significant context (not to mention data) is lost with respect to Plaintiffs’ experts’

ability to analyze and assess these Databases both as to the numerous merits issues identified above

and as to class certification.

        Of course, the Court is well aware that Plaintiffs have long sought this information, with

Plaintiffs first having filed a Motion to Compel on the question of the Class Data and Consent

Data in October of last year. At that time, Defendant argued that the Parties had not yet sufficiently

met-and-conferred. The Court denied Plaintiffs’ first Motion to Compel on those grounds. Since

that time, however, the Parties have met and conferred extensively, both in writing through

multiple deficiency letters and in numerous telephonic meet-and-confers. Given the short time

remaining for discovery in this case, and in light of Defendant’s recent backtracking regarding

production of the Databases, Plaintiffs are filing the instant Motion to Compel in hopes that the

Court will reach the merits of this discovery dispute, as the data sought herein is patently relevant

to this case and is complexly intertwined with both merits and class certification issues. Absent

prompt production of these Databases, Plaintiffs will be prejudiced in their ability to analyze the

relevant information in advance of conducting oral discovery, including the expected forthcoming

FRCP 30(b)(6) deposition of Defendant, which Plaintiffs expect will contain several topics related

to the Databases.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court enter an Order:

            1. Granting Plaintiffs’ Motion to Compel Discovery;

            2. Compelling Defendant to produce the Databases sought herein in their entirety;

            3. Requiring Defendant to pay Plaintiffs’ reasonable expenses and fees incurred in
               making this Motion; and

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          4. Granting such further and other relief the Court deems reasonable and just.



Dated: May 23, 2023                               Respectfully submitted,

                                                  DAVID FLEURY and CHRISTOPHER
                                                  NUNNERY, individually and on behalf of a
                                                  class of similarly situated individuals,

                                                  By: /s/        David L. Gerbie
                                                  One of Plaintiffs’ Attorneys

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                          PLAINTIFFS’ RULE 37 CERTIFICATION

        I hereby certify that I have met the requirements of Fed. R. Civ. P. 37 and L.R. 37.2, as

well as this Court’s Standing Order and Case Procedures, prior to filing this Motion. As the Court

knows, Plaintiffs have been demanding all of the data captured through Defendant’s AGS for

months. Following the Court’s denial of Plaintiff Fleury’s first Motion to Compel without

prejudice, the Parties met and conferred via telephone on November 22, 2022 and December 2,

2022 regarding what data would be produced from the Databases. The Parties also traded written

proposals, with Defendant offering on December 12, 2022 to produce class size numbers according

to various potential limitations periods, including Personally Identifiable Information (PII)

associated with such drivers, consisting of: Driver names, CDL Numbers, and CDL Issuing State.

Defendant only offered this information “contingent upon Plaintiff accepting this information as a

full compromise of the disputes relating to RFP No. 4.” This language was a red flag to Plaintiffs

who did not know the full extent of the data in Defendant’s possession.

       As such, on December 16, 2022, Plaintiffs issued a letter to Defendant asking Defendant

to identify the full extent of the data. In another letter dated January 20, 2023, Plaintiff reiterated

the same request that Defendant identify the full extent of the data. In Defendant’s February 9,

2023 response, Defendant completely ignored this request. Defendant refused to produce this

information informally and instead demanded that Plaintiffs propound additional discovery

requests identifying the full extent of the data in its possession—which Plaintiffs did on March 10,

2023. That same day, and in an effort to reach a compromise and avoid burdening the Court,

Plaintiffs made an offer to Defendant which included a list of stipulations and again asked

Defendant to identify the full extent of the data in its possession. See Ex. C. Subsequently,

Defendant’s attorneys Melissa Siebert and Lauren Gibbons switched law firms, from Shook Hardy
& Bacon, LLP to Cozen O’Connor, bringing this case with them to Cozen, where Chris Hennessy

joined the case and filed an appearance on March 20, 2023. Despite the fact that Defendant retained

several of its previous attorneys, this “transition” added significant additional delay.

        On April 14, 2023, Defendant responded to Plaintiff’s Second Set of Interrogatories,

demonstrating that it in fact possesses categories of relevant data well beyond its previous offers

of production. See Ex. F. On April 25, 2023, Plaintiffs’ Counsel had a meet and confer with

Defendant’s Counsel, Christopher Hennessy, to discuss Plaintiff’s March 10, 2023 deficiency

letter. Despite having been in possession of the letter for at least several weeks, Mr. Hennessy was

not in a position to substantively discuss Plaintiffs’ letter or Plaintiffs’ demand for data from the

databases or alternative proposed stipulations. Plaintiffs followed up with Defendant shortly after

such call and requested a further meeting to address outstanding issues and seek additional clarity

as to what further documents Defendant expected to produce—including whether any such

production would include the Databases. Thereafter, during a meet and confer on April 27, 2023

with Counsel for Defendant Lauren Gibbons and Brian Browne, Plaintiffs again asked that

Defendant produce the Databases, as such Databases constituted responsive “Documents” under

numerous of Plaintiffs’ Document Requests, including the following: 9

        Document Request No. 4: All Documents which Identify all individuals whose Biometric
        Identifiers or Biometric Information was collected, captured, stored, and/or used by You
        or on Your behalf during the Relevant Time Period.

        Document Request No. 5: All Documents Related To any written consent Related To the
        capture, collection, storage, use, or dissemination of biometrics by You or on Your behalf.

        Document Request No. 6: All Documents Related To any policy, procedure, or practice
        Related To the collection, capture, use, storage or dissemination of Biometric Identifiers
        and/or Biometric Information by You or on Your behalf.

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   Importantly, Plaintiff’s Document Requests clearly define “Documents” as including all
“ELECTRONICALLY STORED INFORMATION” (computer generated information or data, of any kind,
stored on computers, file servers, disks, tape or other devices or media, or otherwise evidenced by recording
on some storage media, whether real virtual, or cloud based. ESI includes any associated METADATA).
                                                     13
       Document Request No. 19: All documents Related To any and all purported defenses to
       any of the claims asserted in the Complaint.

       Document Request No. 24: All Documents which Defendant contends Plaintiff Fleury has
       signed or has otherwise executed or manifested his assent towards, including all electronic,
       digital, and hard-copy physical formats of such Documents.

       Document Request No. 37: All Documents, including all data, sufficient to Identify all
       occasions (including date, time and location) that each Putative Class Member utilized a
       biometric fingerprint reader (for example, by using a driver registration station, as depicted
       in UP-00005346-48, or an ingate kiosk that would display a screen similar to UP-
       00003723) at one of Defendant’s Illinois facilities during the Relevant Time Period,
       regardless of whether such utilization was for purposes of providing an initial fingerprint
       registration or a subsequent fingerprint scan.

       Document Request No. 38: All Documents, including all data, contained in the UP Driver
       Master File (as identified in UP-00007231) for each Putative Class Member.

The Parties were scheduled to have a follow up meet-and-confer on May 2, 2023, where Defendant

was to give a definitive answer as to whether or not it would produce such Databases in full.

Defendant’s Counsel did not circulate dial-in information for the call and did not respond to emails

from Plaintiffs’ Counsel attempting to go forward with the call. Plaintiffs’ Counsel subsequently

followed up with Defendant’s Counsel several times to reschedule that meet and confer, but

Defendant’s Counsel refused to respond. See Ex. E. After failing and refusing to meet and confer,

Defendant sent a letter on Friday, May 5, offering to produce a purported class list based on a class

definition Defendant had substantially narrowed unilaterally—while withholding the vast majority

of other relevant data contained in the Databases and refusing all stipulations. See Ex. D.

Defendant’s “compromise” was to artificially narrow the proposed Class to only include

individuals with Illinois commercial drivers’ licenses (CDLs), even though Plaintiffs’ proposed

Class includes all individuals whose biometrics were captured at any of Union Pacific’s Illinois

facilities regardless of the issuing state of their CDL, and even though Defendant’s previous offers

to produce data from the Databases were considerably less narrow. See SAC Dkt. 135 ¶ 28; Exs.

                                                 14
B, D, and E. Upon receiving Defendant’s May 5 correspondence, Plaintiffs’ Counsel responded,

identified that Defendant’s offer was insufficiently narrow and improperly withheld relevant

information, again requested a meet-and-confer, and informed Defendant that Plaintiffs would be

filing a Motion to Compel absent production of the Databases. Plaintiffs’ Counsel followed up

numerous times, and again received no reply or offer to discuss the numerous outstanding

discovery issues. See Ex. E. 10

        Defendant has still not produced even the insufficiently narrow data set that it promised in

its May 5 correspondence to produce by May 19. See Ex. D. With the discovery deadline fast

approaching and with Defendant clearly refusing to produce in full the most relevant information

in this case, Plaintiffs were forced to file the instant Motion.



                                                  /s/ David L. Gerbie




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  While this Motion is limited to asking the Court to compel the production of certain of Union Pacific’s
Databases, it is likely that further motions to compel or potentially even further extension of the discovery
deadline will be required if Defendant refuses to even respond to Plaintiffs’ genuine efforts to conduct
discovery in a timely manner. For example, Defendant has consistently refused to indicate whether it will
produce communications from additional custodians identified by Plaintiff, and this refusal is delaying oral
discovery. Nonetheless, Plaintiffs would like to fully exhaust all meet-and-confer efforts in earnest before
seeking the Court’s involvement in any further discovery disputes.
                                                     15
                             CERTIFICATE OF SERVICE

       I hereby certify that, on May 23, 2023, I caused the foregoing Plaintiffs’ Motion to

Compel Production of Data in Discovery to be electronically filed with the Clerk of the

Court using the CM/ECF system. A copy of said document will be electronically

transmitted to all counsel of record.



                                             /s/ David L. Gerbie
